     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25     Page 1 of 48




BOIES SCHILLER FLEXNER LLP                          JOSEPH SAVERI LAW FIRM, LLP
David Boies (pro hac vice)                          Joseph R. Saveri (SBN 130064)
333 Main Street                                     601 California Street, Suite 1505
Armonk, NY 10504                                    San Francisco, California 94108
(914) 749-8200                                      (415) 500-6800
dboies@bsfllp.com                                   jsaveri@saverilawfirm.com

LIEFF CABRASER HEIMANN &                            DICELLO LEVITT LLP
BERNSTEIN, LLP                                      Amy Keller (pro hac vice)
Rachel Geman (pro hac vice)                         10 North Dearborn Street, Sixth Floor
250 Hudson Street, 8th Floor                        Chicago, Illinois 60602
New York, New York 10013-1413                       (312) 214-7900
(212) 355-9500                                      akeller@dicellolevitt.com
rgeman@lchb.com
                                                    Matthew Butterick (SBN 250953)
CAFFERTY CLOBES MERIWETHER &                        1920 Hillhurst Avenue, #406
SPRENGEL LLP                                        Los Angeles, CA 90027
Bryan L. Clobes (pro hac vice)                      (323) 968-2632
135 S. LaSalle Street, Suite 3210                   mb@buttericklaw.com
Chicago, IL 60603
(312) 782-4880
bclobes@caffertyclobes.com

Counsel for Individual and Representative
Plaintiffs and the Proposed Class
(additional counsel included below)


                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                     PLAINTIFFS’ REPLY TO MOTION FOR
   v.                                                PARTIAL SUMMARY JUDGMENT AND
                                                     OPPOSITION TO META’S MOTION
META PLATFORMS, INC.,
                                                     FOR PARTIAL SUMMARY JUDGMENT
                                     Defendant.




 PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                         CASE NO. 3:23-cv-03417-VC
        Case 3:23-cv-03417-VC                      Document 554-1                    Filed 04/24/25                Page 2 of 48



                                                  TABLE OF CONTENTS

I.       AS A MATTER OF LAW, META’S PIRACY OF COPYRIGHTED
         WORKS IS NOT FAIR USE .......................................................................................... 2
         A.        Meta’s Attempt To Distinguish the Uniform Body of Precedent Rejecting
                   Fair Use for Illegally Acquired Copyrighted Material Is Unavailing. ................... 3
                   1.         Unmitigated piracy continues to be a categorically unfair use. ................. 3
                   2.         Meta’s method of reproduction nevertheless bears heavily on fair
                              use. ............................................................................................................. 4
         B.        Plaintiffs Need Not Prove Actual Distribution of Their Books To Prevail
                   On Summary Judgment.......................................................................................... 6
                   1.         Meta “destroyed” evidence that might have identified content it
                              distributed, but aggregated data nonetheless proves massive
                              uploading of copyrighted material. ............................................................ 7
                   2.         There is no dispute that Meta made Plaintiffs’ Books available for
                              sharing with other pirates. .......................................................................... 9
II.      META’S MULTIPLE OTHER INFRINGEMENTS WERE NOT FAIR USE ...... 10
         A.        Meta’s Motion Ignores a Plethora of Copyrighted Book “Uses.” ....................... 11
         B.        For the Specific “Use” of LLM Training, There Are Factual Disputes for
                   Trial. ..................................................................................................................... 14
                   1.         Factor One: The Purpose and Character of the Use ................................. 15
                   2.         Factor Two: The Nature of the Copyrighted Work ................................. 22
                   3.         Factor Three: The Amount and Substantiality of the Portion Used......... 23
                   4.         Factor Four: The Effect of the Use On the Potential Market for or
                              Value of the Copyrighted Work. .............................................................. 25
III.     META’S INTENTIONAL CMI STRIPPING VIOLATED THE DMCA ............... 35
         A.        There Is No Dispute That Meta Intentionally Removed CMI From
                   Copyrighted Books. ............................................................................................. 36
         B.        There Is A Genuine Dispute Whether Meta Concealed Copyright
                   Infringement. ........................................................................................................ 36
                   1.         Meta’s CMI Removal Concealed the Copyrighted Nature of its
                              Training Data. .......................................................................................... 37
                   2.         Meta’s Inconsistent CMI Stripping Reveals the Pretextual Nature
                              of its Justification, Further Precluding Summary Judgment. ................... 39
IV.      CONCLUSION .............................................................................................................. 40




     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                                      i
        Case 3:23-cv-03417-VC                     Document 554-1                 Filed 04/24/25             Page 3 of 48



                                              TABLE OF AUTHORITIES
                                                                                                                             Page(s)
Cases

A&M Records, Inc. v. Napster, Inc.,
  239 F.3d 1004 (9th Cir. 2001) ............................................................................... 10, 14, 23, 26

A&M Records, Inc. v. Napster, Inc.,
  114 F. Supp. 2d 896 (N.D. Cal. 2000) ...................................................................................... 10

Am. Geophysical Union v. Texaco, Inc.,
  60 F.3d 913 (2d Cir. 1994)............................................................................................ 14, 18, 26

Am. Inst. of Physics v. Winstead PC,
  2013 WL 6242843 (N.D. Tex. Dec. 3, 2013) ......................................................................... 5, 6

Ambat v. City and Cnty. of S.F.,
  757 F.3d 1017 (9th Cir. 2014) .................................................................................................. 10

Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith,
  11 F.4th 26 (2d Cir. 2021) ....................................................................................................... 32

Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith,
  598 U.S. 508 (2023) ........................................................................................................... passim

Ass’n of Am. Medical Colleges v. Cuomo,
  928 F.2d 519 (2d Cir. 1991)...................................................................................................... 15

Atari Games Corp. v. Nintendo of America, Inc.,
  975 F.2d 832 (Fed. Cir. 1992)..................................................................................................... 5

Authors Guild v. Google, Inc.,
  804 F.3d 202 (2d Cir. 2015)............................................................................................... passim

Authors Guild, Inc. v. HathiTrust,
  755 F.3d 87 (2d Cir. 2014).................................................................................................. 24, 25

Barcroft Media, Ltd. v. Coed Media Grp., LLC,
  297 F. Supp. 3d 339 (S.D.N.Y. 2017)....................................................................................... 15

Bill Graham Archives v. Dorling Kindersley Ltd.,
  448 F.3d 605 (2d Cir. 2006)................................................................................................ 24, 32

BMG Music v. Gonzalez,
 430 F.3d 888 (7th Cir. 2005) .................................................................................................... 30

Campbell v. Acuff-Rose Music, Inc.,
  510 U.S. 569 (1994) ........................................................................................................... passim


   PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                           CASE NO. 3:23-cv-03417-VC
                                                                   ii
        Case 3:23-cv-03417-VC                      Document 554-1                 Filed 04/24/25             Page 4 of 48




Cline v. Reetz-Laiolo,
  329 F. Supp. 3d 1000 (N.D. Cal. 2018) .................................................................................... 19

Columbia Pictures Indus., Inc. v. Fung,
  2009 WL 6355911 (C.D. Cal. Dec. 21, 2009) ............................................................................ 7

Columbia Pictures Indus., Inc. v. Fung,
  710 F.3d 1020 (9th Cir. 2013) .......................................................................................... 6, 8, 10

Dr. Seuss Enters. v. ComicMix LLC,
  983 F.3d 443 (9th Cir. 2020) .................................................................................. 10, 16, 18, 35

Elvis Presley Enters. v. Passport Video,
  349 F.3d 622 (9th Cir. 2003) .................................................................................................... 23

Glacier Films (USA), Inc. v. Turchin,
  896 F.3d 1033 (9th Cir. 2018) .................................................................................................... 4

Google LLC v. Oracle Am., Inc.,
  593 U.S. 1 (2021) ............................................................................................................ 5, 22, 34

Hachette Book Grp., Inc. v. Internet Archive,
  115 F.4th 163 (2d Cir. 2024) .................................................................................. 24, 26, 32, 35

Harper & Row Publishers, Inc. v. Nation Enterprises,
  471 U.S. 539 (1985) .................................................................................................... 5, 6, 21, 35

Hotaling v. Church of Jesus Christ of Latter-Day Saints,
  118 F.3d 199 (4th Cir. 1997) ..................................................................................................... 9

IMAPizza, LLC v. At Pizza Ltd.,
  334 F. Supp. 3d 95 (D.D.C. 2018) .......................................................................................... 6, 7

In re DMCA § 512(H) Subpoena to Twitter, Inc.,
   608 F. Supp. 3d 868 (N.D. Cal. 2022) .................................................................................. 4, 15

Keenan v. Allan,
  91 F.3d 1275 (9th Cir. 1996) .................................................................................................... 10

Kelly v. Arriba Soft Corp,
  336 F.3d 811 (9th Cir. 2003) .................................................................................................... 24

Kienitz v. Sconnie Nation LLC,
  766 F.3d 756 (7th Cir. 2014) .................................................................................................... 32

Larson v. Dorland,
  693 F. Supp. 3d 59 (D. Mass. 2023) ......................................................................................... 21

Liebling v. Novartis Pharmaceuticals Corp.,

   PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                           CASE NO. 3:23-cv-03417-VC
                                                                   iii
        Case 3:23-cv-03417-VC                     Document 554-1                 Filed 04/24/25             Page 5 of 48




   2014 WL 12576619 (C.D. Cal. Mar. 24, 2014) .......................................................................... 7

Los Angeles News Serv. v. KCAL–TV Channel 9,
  108 F.3d 1119 (9th Cir.1997) ................................................................................................... 22

Marcus v. Rowley,
 695 F.2d 1171 (9th Cir. 1983) .................................................................................................. 22

McGucken v. Pub Ocean Ltd.,
 42 F.4th 1149 (9th Cir. 2022) ................................................................................. 25, 26, 28, 32

Monge v. Maya Mags.,
 688 F.3d 1164 (9th Cir. 2012) ........................................................................................... passim

Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n,
 953 F.3d 638 (9th Cir. 2020) .................................................................................................... 31

Murphy v. Millennium Radio Grp.,
 2015 WL 419884 (D.N.J. Jan. 30, 2015) .................................................................................. 39

Nat’l Fire Prot. Ass'n v. UpCodes, Inc.,
  753 F. Supp. 3d 933 (C.D. Cal. 2024) ...................................................................................... 10

New York Times Co. v. Microsoft Corp.,
  2024 WL 4874436 n.3 (S.D.N.Y. Nov. 22, 2024) .................................................................... 34

Nunez v. Caribbean Int’l News Corp.,
  235 F.3d 18 (1st Cir. 2000) ......................................................................................................... 4

On Davis v. The Gap, Inc.,
  246 F.3d 152 (2d Cir. 2001)...................................................................................................... 26

Perfect 10, Inc. v. Amazon.com, Inc.,
   508 F.3d 1146 (9th Cir. 2007) ................................................................................... 6, 9, 21, 24

SA Music, LLC v. Amazon.com, Inc.,
  2020 WL 3128534 (W.D. Wash. June 12, 2020).................................................................. 9, 10

Sarl Louis Feraud Int’l v. Viewfinder Inc.,
  627 F. Supp. 2d 123 (S.D.N.Y. 2008)....................................................................................... 22

Sega Enterprises Ltd. v. Accolade, Inc.,
  977 F.2d 1510 (9th Cir. 1992) ................................................................................ 19, 20, 21, 23

Seltzer v. Green Day, Inc.,
  725 F.3d 1170 (9th Cir. 2013) ............................................................................................ 31, 32

Sony Comput. Ent., Inc. v. Connectix Corp.,
   203 F.3d 596 (9th Cir. 2000) ............................................................................................. 19, 23

   PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                           CASE NO. 3:23-cv-03417-VC
                                                                   iv
        Case 3:23-cv-03417-VC                        Document 554-1                   Filed 04/24/25               Page 6 of 48




Stevens v. Corelogic, Inc.,
   899 F.3d 666 (9th Cir. 2018) .................................................................................................... 36

Thomson Reuters Enter. Ctr. GMBH v. Ross Intel. Inc.,
  2025 WL 458520 (D. Del. Feb. 11, 2025) ................................................................................ 26

Triller Fight Club II LLC v. H3 Podcast,
  2023 WL 11877604 (C.D. Cal. Sept. 15, 2023) ......................................................................... 6

United States v. Slater,
  348 F.3d 666 (7th Cir. 2003) ...................................................................................................... 4

Video-Cinema Films, Inc. v. Cable News Network, Inc.,
  2001 WL 1518264 (S.D.N.Y. Nov. 28, 2001) .......................................................................... 32

Walker v. Univ. Books, Inc.,
 602 F.2d 859 (9th Cir. 1979) .............................................................................................. 11, 19

Statutes

17 U.S.C. § 107 ............................................................................................................................. 18

17 U.S.C. § 107(1) ........................................................................................................................ 15

17 U.S.C. § 107(4) ........................................................................................................................ 25

17 U.S.C. § 1202(b)(1) ........................................................................................................... 36, 39

17 U.S.C. § 1202(c) ...................................................................................................................... 36

9th Cir. Model Jury Inst. 17.5 ......................................................................................................... 4

Rules

Fed. R. Civ. P. 37 ............................................................................................................................ 8

Fed. R. Civ. P. 56(d) ..................................................................................................................... 11

Other Authorities

1 Lindey on Entertainment, Publ. & the Arts § 2:28 .................................................................... 31

DAVIS, CHERYL L. & KAZI, UMAIR, PIRACY OF BOOKS IN THE DIGITAL AGE, IN THE ROUTLEDGE
 COMPANION TO COPYRIGHT AND CREATIVITY IN THE 21ST CENTURY (Bogre, Michelle and
 Wolff, Nancy eds., 2020) .......................................................................................................... 32

Fair Use as Market Failure: A Structural and Economic Analysis of the Betamax Case and its
  Predecessors, 82 COLUM. L. REV. 1600 (1982)........................................................................ 35




   PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                           CASE NO. 3:23-cv-03417-VC
                                                                       v
       Case 3:23-cv-03417-VC         Document 554-1         Filed 04/24/25      Page 7 of 48



        Meta frames this case as presenting “a question of existential importance to the future of

generative artificial intelligence (‘AI’) development in the United States.” Meta Br. at 1. But that

proclamation cannot, as a matter of law, relieve Meta of liability for its unprecedented online

piracy of copyrighted literary works or excuse Meta’s other infringements under the guise of fair

use.

        It is now undisputed that Meta torrented tens of millions of pirated books and other

copyrighted works, including over 650 copies of Plaintiffs’ Books, for free and without consent

from the rightsholders because it did not want to pay for them. Over a century of precedent holds

that pirating intellectual property creates liability for infringement. When a person does this, they
can be held civilly and criminally liable. But Meta asks this Court to hold that its conduct is

somehow different—that unlawful conduct by one of the world’s largest tech companies is

somehow legitimized by doing it on a massive scale because of “existential” technological needs.

According to Meta, it must be allowed to infringe copyrighted works en masse because there’s no

other way to train LLMs. Yet even Meta knows pirating books is not necessary to develop LLMs;

Meta itself developed “non-LibGen” models trained on other material. Ex. 61.1 Meta’s mass

copyright infringement therefore is not inherent to LLM development—it just served to make

Meta’s models marginally better relative to some of its competitors. Far from being a referendum

on emerging technology, this case is simply about whether Meta must comply with existing law

in developing its commercial products, or whether Meta may indiscriminately use, for its own
financial gain and without compensation, all intellectual property protected by U.S. copyright law.

        Meta tries to avoid grappling with the facts here by drawing a false equivalency between

its conduct and the conduct at issue in Authors Guild v. Google, Inc., 804 F.3d 202 (2d Cir. 2015)

(“Google Books”). That case, however, which itself “test[ed] the boundaries of fair use,” id. at 206,

is a far cry from Meta’s reality here. Google Books was the result of a legitimate collaborative

partnership between Google and “a number of the world’s major research libraries.” Id. at 208. In

1
 Plaintiffs commence new exhibits at number 97; all citations to exhibits 1-96 refer to the materials
accompanying Plaintiffs’ affirmative motion for partial summary judgment, ECF Nos. 472-75.
Unless indicated otherwise, all exhibit citations are to the declarations of Maxwell V. Pritt.

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                 1
       Case 3:23-cv-03417-VC          Document 554-1        Filed 04/24/25      Page 8 of 48



the pursuit of the expansion of collective knowledge, Google executed “bi-lateral agreements”

with those libraries to “create[] an index of the machine-readable text” of books, “the vast majority

of [which] are non-fiction, and most [] out of print.” Id. at 208. And when users search the Google

Books index, they are directed to links to buy the queried books whose snippets are displayed.

Google also receives no payment for this function, whether through advertising or “finders’ fees”

from eventual book purchases. Id. at 209. The Google Books project thus resulted in no meaningful

market substitution for the original copyrighted works. Id. at 224. And the Google Books court

even lauded Google’s “impressive security measures” against the risk of data piracy. Id. at 228.

         Little of what Meta did resembles Google Books. Instead of buying or licensing
copyrighted works, Meta torrented tens of millions of them from pirated databases so notorious

that they’re frequently targeted by the FBI and enjoined by federal courts. Instead of directing

users to the copied works, Meta cannibalized licensing revenue from those works by depriving

authors of compensation in the exploding market for AI training data. And far from targeting

purely factual works, Meta indiscriminately ingested the entire copyrighted universe, fiction and

non-fiction alike, ironically lamenting that it had “only collected 5% of the world book content”

from Anna’s Archive, and without paying a single cent. Ex. 97, Meta_Kadrey_00211192, at -195.

         No court has come close to holding that such egregious conduct could constitute “fair use.”

This Court should not be the first. Accordingly, Plaintiffs respectfully request the Court grant

Plaintiffs’ partial motion for summary judgment and deny Meta’s motion for summary judgment.

I.       AS A MATTER OF LAW, META’S PIRACY OF COPYRIGHTED WORKS IS
         NOT FAIR USE
         The original method of reproduction of copyrighted material (i.e., how the infringer made

unauthorized copies) bears directly on fair use, and no method has been as resoundingly rejected

as pirating content through peer-to-peer (“P2P”) networks. Take Meta’s word for it. Even after

Plaintiffs filed this case in 2023, Meta submitted comments to the U.S. Copyright Office stating:
         [O]ne of the most critical elements of the balance between rightsholder interests
         and innovation is the doctrine of fair use. Courts have applied that doctrine to lay
         the legal groundwork for revolutionary new technologies like internet search, while
         declining to sanction more exploitative technologies, like unauthorized file
         sharing and unlicensed media clip services.

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                  2
      Case 3:23-cv-03417-VC          Document 554-1         Filed 04/24/25      Page 9 of 48



Comments of Meta Platforms, U.S. Copyright Office Dkt. No. 2023-06, at 11 (filed Oct. 30, 2023)

(emphasis added).2

        There is no dispute that Meta downloaded hundreds of terabytes (“TB”) of copyrighted

works from known pirated databases, including several hundred copies of Plaintiffs’ Books, and

that Meta torrented the lion’s share of that content. See Ex. 72 at 47, Table 2. And there now is no

dispute that Meta also distributed a massive share of that data, contributing invaluable bandwidth,

storage, and processing power to Meta’s fellow digital pirates—Meta’s own expert found that

Meta’s Amazon Web Services (“AWS”) cost and usage data shows that “peers could have received

from Meta [] approximately 30% [i.e., over 40 TB] of the data that Meta downloaded.” Dkt. 492
at ¶ 29; Ex. 163, Frederiksen-Cross Second Rebuttal Report, at 28-29 n. 56 (emphasis added).3

Meta ignores these points and at best highlights a dispute over a single immaterial fact: whether

Plaintiffs’ Books were among the 40 TB of copyrighted content that Meta admits it distributed

online in a three-month period in 2024. Meta Br. at 34-35. That evidence is equal parts irrelevant

and available only by inference. Moreover, Meta “destroyed” critical parts of its torrenting logs

that would provide additional circumstantial evidence. See Section I.B.1, infra. Because no

reasonable jury could find Meta’s mass piracy was fair use, Plaintiffs’ Motion should be granted.
        A. Meta’s Attempt To Distinguish the Uniform Body of Precedent Rejecting Fair Use
           for Illegally Acquired Copyrighted Material Is Unavailing.
            1. Unmitigated piracy continues to be a categorically unfair use.
        In their Motion, Plaintiffs noted they could not locate a single case that sanctioned as fair
use unmitigated piracy such as the use of P2P file sharing networks to copy (or distribute) works

without permission. Pltfs’ Br. at 23-27. In response, Meta cites no such cases, because none exist.



2
  Available at https://www.regulations.gov/comment/COLC-2023-0006-9027.
3
  Frederiksen-Cross’s second rebuttal report also corrects duplication in her prior report’s 267.4
TB calculation of what Meta downloaded via torrent from LibGen, Z-Lib, and IA between April
and July 2024. The new report calculates downloading of 134.6 TB based on Meta’s AWS billing
data between April and July 2024 while also noting Meta uploaded 40.42 TB during that same
time period. The amount of copyrighted data that Meta torrented from just these three pirated
databases is astonishing, and these figures do not even include the additional torrenting Meta did
from LibGen in 2022 and 2023 and Meta’s torrenting from other pirated databases.

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                 3
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25       Page 10 of 48



       Meta and its amici attempt to distinguish this case from the many P2P file sharing cases

that uniformly deny fair use to defendants engaged in this form of infringement. According to

Meta, its “use was fair irrespective of its method of acquisition.” Meta Br. at 35. But Meta does

not cite a single case—either within or outside the P2P context—where a defendant used a copy

of a work it stole and successfully mounted a fair use defense. Nor has Meta identified any cases

where this form of unmitigated digital piracy has received anything but back-of-the-hand treatment

from the courts. To the contrary, “[i]n some cases, no analysis is required; it is obvious, for

example, that downloading and distributing copyrighted music via peer-to-peer systems does not

constitute fair use.” In re DMCA § 512(H) Subpoena to Twitter, Inc., 608 F. Supp. 3d 868, 879
(N.D. Cal. 2022) (Chhabria, J.); United States v. Slater, 348 F.3d 666, 669 (7th Cir. 2003) (“It is

preposterous to think that Internet piracy is authorized by virtue of the fair use doctrine”); see also

Glacier Films (USA), Inc. v. Turchin, 896 F.3d 1033, 1043 (9th Cir. 2018) (calling fair use a

“baseless affirmative defense[]” where defendant “conced[ed] that he downloaded [a movie]” via

BitTorrent). With it entirely undisputed that Meta torrented well over 134.6 TB of copyrighted text

from known pirated websites, the Court can simply follow all analogous precedent and reject fair

use outright.
            2. Meta’s method of reproduction nevertheless bears heavily on fair use.
       Plaintiffs’ Motion stands for a simple, uncontroversial proposition: fair use cannot apply if

the copyrighted work was illegally obtained in the first instance. Pltfs’ Br. at 22-23. But even if

unmitigated piracy is subject to the fair-use factors, the method of acquisition still bears heavily

on the analysis: Where a defendant acquires a work by lying or stealing, it is fundamentally unfair.

See Nunez v. Caribbean Int’l News Corp., 235 F.3d 18, 23 (1st Cir. 2000) (“unlawful acquisition

of the copyrighted work generally weighs against a finding of fair use”). Here, Meta relies on

inapposite cases involving “unauthorized” uses of legally acquired material. That a use is

unauthorized, however, is quite different than where the work’s very acquisition is illegal. Indeed,

every prima facie infringement claim necessarily requires the use to be unauthorized. See 9th Cir.
Model Jury Inst. 17.5 (“Anyone who copies original expression from a copyrighted work during



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                  4
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25      Page 11 of 48



the term of the copyright without the owner’s permission infringes the copyright.”) (emphasis

added). Unauthorized uses of legally acquired works—as existed in Google Books—are far afield

from the facts here.

       Meta’s attempt to distinguish Harper & Row, the Supreme Court’s seminal fair use case,

falls flat. Meta Br. at 20. There, the defendant “knowingly exploited a purloined manuscript” and

then “supplant[ed] the copyright holder’s commercially valuable right of first publication” without

“even the fiction of consent as justification.” Harper & Row Publishers, Inc. v. Nation Enterprises,

471 U.S. 539, 562-63 (1985) (emphasis added). That theft without the copyright owner’s consent

was found not to be fair use. Here, Meta similarly purloined Plaintiffs’ works without consent—
and on a scale dramatically greater than the 13% of a single manuscript that was excerpted in

Harper & Row.

       Meta also fails in attacking the holding in Atari Games Corp. v. Nintendo of America, Inc.,

975 F.2d 832 (Fed. Cir. 1992) that “an individual must possess an authorized copy of a literary

work” to “invoke the fair use exception,” as supposedly outdated and superseded. Meta Br. at 21.

Not one of Meta’s “distinguishing” cases involve an unauthorized initial copy like the stolen

source code in Atari, and none even mention the legality of the initial acquisition. In Warhol, the

artist had previously granted a license to Vanity Fair to use her Prince photo as an “artist reference

for an illustration,” which then led to the creation of Orange Prince. Andy Warhol Found. for the

Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 508 (2023). Similarly, Oracle involved no illegal
piracy—the declaring code was acquired legally. Google LLC v. Oracle Am., Inc., 593 U.S. 1, 13

(2021). And Campbell likewise does not suggest 2 Live Crew illegally pirated the song “Oh, Pretty

Woman” before parodying it. Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 572–73 (1994).

       Meta’s amici fare no better. One attempts to limit Harper & Row through dicta from an

unpublished, out-of-circuit district court order. Dkt. 516 at 11 (“Other courts have read this holding

to require, for example, obtaining a work through ‘breach of confidence or deception.’”) (quoting

Am. Inst. of Physics v. Winstead PC, 2013 WL 6242843, at *12 (N.D. Tex. Dec. 3, 2013)). But
that court simply rejected the plaintiffs’ argument that an initial copy of a work must categorically


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                  5
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25       Page 12 of 48



be obtained “in ‘good faith,’” whereas the initial copies in Harper & Row (and other cases) were,

like here, “obtained in improper ways for known impermissible purposes” such as “st[ealing] the

entire potential market for [the publisher’s] materials.” 2013 WL 6242843, at *12. Meta makes a

similar argument, proclaiming in a footnote that it just “copied third party datasets . . . from

publicly available websites; there is no evidence that it lied to obtain those copies.” Meta Br. n.13.

Meta’s “publicly available” euphemism is akin to arguing that a book in a bookstore is publicly

available because anybody can walk in during business hours, take it off the shelf, and walk out

without paying for it. That’s illegal, even if you do not lie to the bookstore attendant while doing

it. Moreover, Meta went to great lengths to conceal its conduct, e.g., Ex. 61 at -245 (“In no case
would we disclose publicly that we had trained on libgen”) (emphasis in original), including by

using a concealed VPN rather than Meta IP addresses so internet service providers could not track

its pirating activities. And to the extent amici argue Perfect 10, Inc. v. Amazon.com, Inc. “implicitly

reject[s]” Atari, amici neglect to mention that “Perfect 10 accepted the ‘general rule’ from Atari

that ‘a party claiming fair use must act in a manner generally compatible with principles of good

faith and fair dealing.’” Triller Fight Club II LLC v. H3 Podcast, 2023 WL 11877604, at *8 (C.D.

Cal. Sept. 15, 2023) (quoting Perfect 10, 508 F.3d 1146, 1164 n.8 (9th Cir. 2007)). Meta plainly

did not.

       B. Plaintiffs Need Not Prove Actual Distribution of Their Books To Prevail On
          Summary Judgment.
       Meta attempts to raise a dispute about whether it actually uploaded Plaintiffs’ Books, but

that is of no moment. “As the Ninth Circuit has explained, . . . ‘[b]oth uploading and downloading

copyrighted material are infringing acts.’” IMAPizza, LLC v. At Pizza Ltd., 334 F. Supp. 3d 95,

119 (D.D.C. 2018) (quoting Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1034 (9th Cir.

2013)). “Therefore, where both the uploading and the downloading are unlawful (as in the many

cases of illegal file-sharing that have come before the federal courts), ‘Plaintiffs need only show

that United States users either uploaded or downloaded copyrighted works; Plaintiffs need not
show that a particular file was both uploaded and downloaded entirely within the United States.’”



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                  6
      Case 3:23-cv-03417-VC         Document 554-1        Filed 04/24/25      Page 13 of 48



Id. (quoting Columbia Pictures Indus., Inc. v. Fung, 2009 WL 6355911, at *8 (C.D. Cal. Dec. 21,

2009)). Applying this reasoning here, Plaintiffs have established Meta’s P2P sharing of

copyrighted material resulted in mass infringement from Meta’s downloading alone. Further, Meta

offers no facts to dispute the overwhelming probability that it also uploaded Plaintiffs’ works, see

Ex. 71, ¶¶ 20-30 & Table 1,4 or at minimum, made them available to peers such that they are

properly deemed distributed.
            1. Meta “destroyed” evidence that might have identified content it distributed,
               but aggregated data nonetheless proves massive uploading of copyrighted
               material.
        Fundamentally, Meta seeks to preclude partial summary judgment by pointing to an
absence of book-by-book uploading data. While Meta maintained detailed indices of the

copyrighted works it downloaded from Library Genesis (“LibGen”), Z-Library (“Z-Lib”), and

Internet Archive (“IA”), see Exs. 94-96, it did not maintain or preserve any logs showing which

pieces of which works Meta uploaded to others. Meta failed to preserve logs related to outbound

data by letting its “devserver” logs (to which Meta torrented a copy of LibGen in early 2023) be

“overridden” long after this lawsuit was filed on July 7, 2023. Ex. 98, King 30(b)(6) Tr. 117:1-

122:20 (noting “no logs had been located” because “it was outside the [one-year] retention period,”

and while it is “possible to prevent such overwriting from taking place,” Meta did not do so); Ex.

99, Meta_Kadrey_00112111, at -213 (Bashlykov discussing syncing LibGen data from his

devservers in May 2023). Additionally, on the AWS EC2 computers that Meta used for its 2024
torrenting via Anna’s Archive, the “instances” (or virtual computers) were also “destroyed” well

after this case began in July 2023. Ex. 98, 196:7-200:15. Meta’s aggregated AWS billing data at

least enabled the parties to reconstruct the massive amount of pirated content that Meta uploaded

in 2024; no such reconstruction will ever be possible with respect to Meta’s 2023 LibGen


4
  Meta objects to Dr. Choffnes’s report as an “unsworn expert report” “not admissible” on
summary judgment. Meta Br. at 34-35 & n.19. Courts universally allow a party to address any
such objection, however, by “proffering the sworn deposition or declaration of the expert.” E.g.,
Liebling v. Novartis Pharmaceuticals Corp., 2014 WL 12576619, at *2 (C.D. Cal. Mar. 24, 2014)
(collecting cases). Plaintiffs thus proffer Exhibit 100, the sworn deposition of Dr. Choffnes taken
March 28, 2025, where he authenticated his expert report on pages 125-126, among other places.

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                 7
      Case 3:23-cv-03417-VC          Document 554-1         Filed 04/24/25      Page 14 of 48



torrenting. These acts of “overriding” help explain why Meta’s logs are absent from discovery and

why both parties’ torrenting experts can speak only in terms of probabilities and aggregated billing

data.5

         Nonetheless, undisputed evidence establishes that Meta uploaded at least some components

of Plaintiffs’ Books. First, it is undisputed that Meta torrented at least 134 terabytes of data from

known pirated databases in April to June 2024 alone, and it is now undisputed that Meta also

torrented over two million works from LibGen Fiction in 2022. Ex. 98, 46:2-47:9 (admitting

LibGen was acquired via torrent in 2022); Butterick Decl. ¶¶ 2-6 (showing quantity of 2022

LibGen documents). Second, it is undisputed that those massive repositories of pirated works
included at least one copy of every Book asserted in this case. Ex. 72, Table 2 & App’x C. Finally,

Meta offers no evidence that its engineers did anything to modify BitTorrent’s default “leeching”

protocol that enables uploading simultaneously to downloading. Pltfs’ Br. at 14. And it is now

undisputed that Meta distributed up to 30% of what it downloaded, at least with respect to the over

134 TB it torrented in 2024, Dkt. 492 at ¶ 29. Dr. Choffnes analyzed this evidence and concluded

that the probability of Meta uploading at least some portion of one of Plaintiffs’ Books was well

over 99%. Ex. 71, ¶¶ 20-30 & Table 1.

         Statistical evidence is often used in P2P infringement cases because definitive facts about

illegal file sharing are difficult to obtain—by design. For that reason, courts have granted summary

judgment to plaintiffs in such cases based on statistical evidence even where the underlying
assumptions are disputed. E.g., Columbia Pictures, 710 F.3d at 1034 (affirming grant of summary

judgment to plaintiff on liability where proof of widespread infringement was established via

expert analysis showing that “between 90 and 96% of the content associated with the torrent files

available on [defendant’s] websites are for ‘confirmed or highly likely copyright infringing’

material,” and holding that “even giving [defendant] the benefit of all doubts by tripling the

margins of error in the expert’s reports, Columbia would still have such overwhelming evidence


5
  Plaintiffs only learned of this spoliation during the April 2, 2025 deposition of Meta’s 30(b)(6)
representative, and reserve the right to seek relief under Fed. R. Civ. P. 37 at the appropriate time.

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                  8
      Case 3:23-cv-03417-VC          Document 554-1         Filed 04/24/25      Page 15 of 48



that any reasonable jury would have to conclude that the vastly predominant use

of [defendant’s] services has been to infringe copyrights”). This case warrants that same

disposition.
               2. There is no dispute that Meta made Plaintiffs’ Books available for sharing
                  with other pirates.
        It is beyond dispute that Meta’s actions resulted in the distribution of millions of

copyrighted works. And while no evidence shows precisely which works Meta distributed, it is

likewise beyond dispute that Meta made available each of Plaintiffs’ Books. These facts constitute

additional “uses,” entirely divorced from LLM training, that are categorically unfair.

        Even if what Meta actually shared with other digital pirates is relevant, courts routinely

accept evidence that the defendant “made available” copyrighted material in lieu of requiring proof

actual sharing. In Hotaling v. Church of Jesus Christ of Latter-Day Saints, the Fourth Circuit

rejected the notion that “the evidence would need to show that a member of the public accepted”

“an offer to distribute the work” to “establish distribution.” 118 F.3d 199, 203 (4th Cir. 1997). To

the contrary, once an infringing party “has completed all the steps necessary for distribution to the

public,” that work is deemed distributed, and for good reason: “[w]ere this not to be considered

distribution . . . a copyright holder would be prejudiced by a library that does not keep records of

public use, and the library would unjustly profit by its own omission.” Id. In-circuit cases have

expressly acknowledged Hotaling’s direct applicability to the P2P file sharing context.6 E.g., SA

Music, LLC v. Amazon.com, Inc., 2020 WL 3128534, at *4 (W.D. Wash. June 12, 2020)

(describing Hotaling’s facts as “analogous to making a work available to the public through a file-

sharing network”) (emphasis added). Indeed, once the lens is narrowed to the P2P context,

“according to . . . [the] majority of cases analyzing the issue, the distribution requirement . . . is

satisfied when a copyrighted work is made available for downloading through a file-sharing

6
  The Ninth Circuit cases that decline to follow Hotaling involve factually distinct scenarios where
the infringer did not make entire copyrighted works available for free. E.g., Perfect 10, 508 F.3d
at 1162-63 (“Though Google indexes these images, it does not have a collection of stored full-size
images it makes available to the public. Google therefore cannot be deemed to distribute copies of
these images under the reasoning of Napster or Hotaling”). That is decidedly not the case here,
where there is undisputed evidence Meta did distribute massive amounts of copyrighted material.

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                  9
      Case 3:23-cv-03417-VC          Document 554-1       Filed 04/24/25     Page 16 of 48



network – as one might do on a P2P network such as Napster.” Id. (emphasis added).7 And as Meta

did here.

          Meta responds that because of its destruction of its own torrenting logs, Meta cannot be

deemed to have distributed any specific work, even though Meta uploaded a massive amount of

copyrighted material in the aggregate. But Meta, which bears the burden to “identify with

reasonable particularity the evidence that precludes summary judgment,” Keenan v. Allan, 91 F.3d

1275, 1279 (9th Cir. 1996), offers no evidence here other than a lack of book-by-book information

about its torrenting activity—the same evidence Plaintiffs might have obtained had Meta preserved

it. Because there is no dispute that Meta uploaded massive amounts of copyrighted data, and there
is no dispute that Meta made Plaintiffs’ Books available for upload, partial summary judgment is

warranted on the basis of Meta’s distribution, as well as Meta’s copying, of the Books through

P2P networks.

II.       META’S MULTIPLE OTHER INFRINGEMENTS WERE NOT FAIR USE
          Nowhere in Meta’s motion does it acknowledge that “the Supreme Court and [the Ninth]

circuit have unequivocally placed the burden of proof on the proponent of the affirmative defense

of fair use.” Dr. Seuss Enters. v. ComicMix LLC, 983 F.3d 443, 459 (9th Cir. 2020). Meta thus

“bears the heavy burden of showing there are no genuine issues of material fact about whether its

copying was fair.” Nat’l Fire Prot. Ass'n v. UpCodes, Inc., 753 F. Supp. 3d 933, 954 (C.D. Cal.

2024) (quoting Ambat v. City and Cnty. of S.F., 757 F.3d 1017, 1031 (9th Cir. 2014)) (emphasis

added).


7
  See also A&M Recs. v. Napster, 239 F.3d 1004, 1019 (9th Cir. 2001) (“it is obvious that once a
user lists a copy of music he already owns on the Napster system in order to access the music from
another location, the song becomes available to millions of other individuals”) (emphasis added)
(citing A&M Records, Inc. v. Napster, Inc., 114 F. Supp. 2d 896, 913 (N.D. Cal. 2000) (“a Napster
user who downloads a copy of a song to her hard drive may make that song available to millions
of other individuals, even if she eventually chooses to purchase the CD. So-called sampling on
Napster may quickly facilitate unauthorized distribution at an exponential rate”)) (emphasis
added); Columbia Pictures, 710 F.3d at 1033 (“one can infringe a copyright through culpable
actions resulting in the impermissible reproduction of copyrighted expression, whether those
actions involve making available a device or product or providing some service used in
accomplishing the infringement”) (emphasis added).

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                 10
      Case 3:23-cv-03417-VC          Document 554-1         Filed 04/24/25      Page 17 of 48




        A. Meta’s Motion Ignores a Plethora of Copyrighted Book “Uses.”
        It is undisputed that Meta made copies of Plaintiffs’ Books for multiple purposes, starting

with its online piracy via torrenting and direct downloads to obtain them for free, then continuing

through, inter alia, various stages of the LLM training process. See, e.g., Ex. 101,

Meta_Kadrey_00065631; Ex. 56; Ex. 102, Bashlykov 30(b)(1) Tr. 62:15-63:17, 66:5-7, 82:8-16,

147:14-148:2, 156:15-21, 225:5-226:3, 228:12-230:8 (discussing making additional copies of

LibGen for various uses); Ex. 103, Bashlykov 30(b)(6) Tr. 67:9-18, 68:14-70:7, 73:17-74:7, 80:4-

10.8 Yet, Meta advances a single fair use argument predicated on LLM training—a defense that

could only apply to copies it actually used to train its LLMs.
        The Court should reject Meta’s attempt to turn its “fair use” defense as to a single use into

an umbrella defense that excuses all copying for any purpose. Different reproductions require

separate analyses, and all uses of infringing material must be “fair use” to overcome liability. E.g.,

Warhol, 598 U.S. at 533 (“the same copying may be fair when used for one purpose but not

another”); Campbell, 510 U.S. at 585 (counseling that different outcomes may result from use of

a copyrighted work to advertise a product, even in a parody, versus the sale of a parody of that

same copyrighted work); Walker v. Univ. Books, Inc., 602 F.2d 859, 864 (9th Cir. 1979) (that an

“infringing copy” of a work is “an inchoate representation of some final product to be marketed

commercially does not in itself negate the possibility of infringement”; that “the blueprints

themselves were never sold for profit” does not “eliminate the possibility of an award of statutory
damages for infringement under the Act”). Here, Meta made numerous copies of pirated datasets

of copyrighted works from different shadow libraries at different times, which it stored in different

8
  To date, Plaintiffs have been unable to discover all of the uses that Meta has made of Plaintiffs’
Books and other copyrighted works. Every time Plaintiffs look somewhere new, more illicit copies
appear. Just last week, Plaintiffs discovered source code showing that Meta began downloading
pirated data via blockchain, using the so-called InterPlanetary File System (“IPFS”), where many
shadow libraries taken down from the public internet by the FBI, court order, or other means still
reside. Meta employees had previously discussed the availability of LibGen via IPFS, e.g., Ex. 56
at -861.00003, but this source code revealed the first evidence of Meta starting to actually use the
IPFS. In light of the lack of evidence of the full extent of Meta’s copying, which is squarely within
Meta’s control, the appropriate inference is that Meta made multiple copies of the pirated works,
some of which were used for LLM training, but others of which were not. Fed. R. Civ. P. 56(d).

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                 11
      Case 3:23-cv-03417-VC         Document 554-1        Filed 04/24/25      Page 18 of 48



locations for different uses and purposes. The following copies are indisputably not fair use:

        Fall 2022: In 2022—as Meta employees were in talks with at least one publisher for AI

training data, Ex. 32—Meta torrented over two million pirated books from LibGen. The documents

reflecting that torrenting appear to contain 204 copies of Plaintiffs’ Books. Butterick Decl. at ¶¶

2-6; Ex. A (summary table). Meta never used this dataset to train any Llama model.9 Instead, the

sole use and purpose of this dataset was to determine “if there [wa]s value” in copyrighted books

as training data. If there was, Meta intended to “setup proper licensing agreement[s]”—something

Meta never did. Ex 32, Meta_Kadrey_00218170; see also Ex. 104, Meta_Kadrey_00218907, at -

909 (stating Meta would “use libgen to benchmark the performances based on the amount of data,
and use that to decide which licenses to buy for the actual model”).

        At the time, the head of Meta’s AI group wondered if it was “problematic” to use LibGen

for this purpose. Ex. 32. Her concerns were well-founded. Using LibGen to source pirated market

substitutes of high value AI training data is quintessentially not fair use. The record shows the

following: (1) Meta torrented millions of works of fiction from LibGen even as employees

internally protested using an “illegal pirated website” for training data, Ex. 18 at -730; (2) Meta

used this dataset to determine whether the data was valuable enough to license, Ex. 105,

Meta_Kadrey_00231286; and (3) Meta never used this dataset to train any Llama model because,

at the time, it concluded the risks far outweighed the rewards. Ex. 35 (“The team was initially

evaluating the usage of copyrighted work such as libgen fiction . . . Results obtained in December
show that the upside from using these is negligible, while the legal limitations in order to train a

LLM for widespread internal use are significant.”). In other words, Meta infringed millions of

copyrights—including Plaintiffs’—but ultimately decided to abandon this dataset without “using”

it to train any of its LLMs.




9
  See Meta Answer, Dkt. 485, ¶¶ 3, 35, 98 (admitting Meta “made copies” of portions of LibGen
and other shadow libraries, and used that text data, which included books, for not just training but
also LLM research and evaluation, including “assess[ing] the general knowledge and expressive
abilities of models, and as a means of testing LLMs’ memorization”).

    PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
                                                12
Case 3:23-cv-03417-VC   Document 554-1   Filed 04/24/25   Page 19 of 48
       Case 3:23-cv-03417-VC        Document 554-1         Filed 04/24/25       Page 20 of 48



data mix). Once Anna’s Archive was fully ingested, however, Meta realized it could not acquire

all copyrighted works via piracy alone. Ex. 97 at -195 (“Anna’s Archive shows that we have

currently only collected 5% of the world book content.”). To acquire the rest, Meta finally

concluded it would need to license text data—including books. Meta developed a straightforward

strategy: “cross reference books we have collected from Anna’s Archive” against “all the books

in the world” to “manually evaluate and hypothesize whether the missing data corpus from these

publishers would be valuable to acquire.” Id. at -196. Meta emphasized that it “will only go after

the publishing companies with the largest delta of missing content” between their offerings and

what Meta “collected from Anna’s Archive & spidermate.”10 Id. at -198 (emphasis in original).
         Meta’s acquisition of these pirated datasets was a chaotic free-for-all. Meta employees

downloaded several copies of pirated datasets, only some of which ever made it into an LLM for

training. See Ex. 109, Nayak 30(b)(6) Tr. 66:6-9 (“Meta is a large company, and I could imagine

that one researcher could have downloaded [LibGen] and then another researcher could have

downloaded it without knowing that it existed.”). Meta does not argue—and there is no evidence

to indicate—that any of Plaintiffs’ Books were transformed in any way during the many times it

copied them from LibGen and Anna’s Archive. At a minimum, the initial download of copyrighted

works “does not transform the copyrighted work.” Napster, 239 F.3d at 1014; see Am. Geophysical

Union v. Texaco, Inc., 60 F.3d 913, 923 (2d Cir. 1994) (“Texaco’s making of copies cannot

properly be regarded as a transformative use of the copyrighted material”). And there is nothing
transformative about Meta’s use of copyrighted works in LibGen and Anna’s Archive to analyze

whether pirated datasets are adequate market substitutes for paying to license those same books—

after all, substitution is “copyright’s bête noire.” Warhol, 598 U.S. at 528.
         B. For the Specific “Use” of LLM Training, There Are Factual Disputes for Trial.
         Even for the lone “use” that Meta does address in its Motion—copying Plaintiffs’ Books

“to train Llama,” see Meta Br. at 13, there exist substantial factual disputes that foreclose summary

10
  Spidermate is Meta’s web crawling application. It scrapes a vast set of web data, including
copyrighted content, used by Meta for LLM training, entirely separate from Meta’s torrenting.
E.g., Ex. 108 (showing Spidermate in training data mix); Ex. 143 (explaining Spidermate).

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                 14
Case 3:23-cv-03417-VC   Document 554-1   Filed 04/24/25   Page 21 of 48
     Case 3:23-cv-03417-VC          Document 554-1          Filed 04/24/25    Page 22 of 48



dispositive of” factor one, and transformativeness “must be weighed against other considerations,

like commercialism”). Indeed, Meta’s commercial use “loom[s] larger” in a case like this, where

Meta’s use has no justification that it is somehow commenting on or otherwise message-targeting

the almost innumerable works it has infringed. Warhol, 598 U.S. at 547 (quoting Campbell, 510

U.S. at 580) (alteration in original); see Dr. Seuss, 983 F.3d at 452-53; see also Google Books, 804

F.3d at 215 (“A secondary author is not necessarily at liberty to make wholesale takings of the

original author’s expression merely because of how well the original author’s expression would

convey the secondary author’s different message.”). Instead, Meta, with its tens of billions of

dollars of annual investment into GenAI, had repeated opportunities to obtain text data to train its
LLMs by compensating rightsholders but chose to rely on pirated substitutes to get data it wanted

for free. This, too, is evidence of a commercial purpose.
                       b. Meta’s use of copyrighted works to train LLMs is not
                          transformative.
       Unlike Google’s use of copyrighted works to build a digital index in Google Books, Meta

uses copyrighted works to create a commercial product capable of writing books or mimicking the

style of writers on whose works Meta has trained. That is why Meta cares about data diversity:

each type of data source affects what Meta’s Llama models can output. Record evidence shows

Meta intentionally designed its LLMs to emulate the writing style of specific authors. Meta’s

training on copyrighted works does not advance any traditionally protected categories of
transformative use, and the mechanics of LLM technology are designed to mimic copyrighted

works rather than transform them. At minimum, this is a factual dispute that belongs with the jury.

                             i.   Meta’s LLMs leverage copyrighted works to copy the
                                  protected expression contained within them.
       Meta claims that its use of Plaintiffs’ Books is transformative because “Llama is nothing

like a book; it is not meant to be read.” Meta Br. at 3. According to Meta, because books are little

more than statistical training fodder in this use context, the purpose of LLM training is entirely

new. But it is not that simple—not even close. Books are used as LLM training data because they
are books, not because they are mere amalgamations of words on a page. Llama might not



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                16
     Case 3:23-cv-03417-VC            Document 554-1         Filed 04/24/25       Page 23 of 48



regurgitate entire novels verbatim due to Meta’s post-training copyright “mitigations,” but when a

Llama user asks the model to write a work of fiction in the style of Richard Kadrey, Llama will do

it. That output can only occur because the model was extensively trained on books, including

Kadrey’s books. Llama does not transform Kadrey’s works, it mimics them as closely as possible.

        Record evidence reveals that Meta employees used books for far more than their statistical

patterns. Employees read works Meta copied for training data and went to great lengths to train

Llama models to produce outputs aligning with specific book authors. Meta employees routinely

cited “creativity” as the reason it sought books such as fiction novels. E.g., Ex. 110,

Meta_Kadrey_00080277, at -279. Meta, even from the earliest days of its GenAI program, built
Llama to directly compete with writers as a means of creating prose and narrative text. E.g., Ex.

111, Meta_Kadrey_00074217. Indeed, Meta was developing its LLMs to mimic specific authors.

For example, Meta produced fine-tuning data (i.e., post-training data) intended to replicate the

writing style of named Plaintiff Junot Diaz. Ex. 112, Meta_Kadrey_00019627; Ex. 113,

Meta_Kadrey_00028015. Moreover, several senior Meta AI scientists, including some of the lead

developers of Llama, had a lengthy discussion regarding their work to train Meta’s LLMs to write

“in the style of” certain book authors, including Kurt Vonnegut and William Faulkner—both of

whose works are still under copyright. Ex. 114, Meta_Kadrey_CT_00086196, at -206, -237, -238.

        Mimicking copyrighted expression—a quintessential non-transformative use—goes to the

very heart of how LLMs operate. Plaintiffs’ expert Emily Bender opines that LLMs merely
“model[] patterns in their training data,” so it is inaccurate to claim they “‘understand[]’ language

or otherwise hav[e] access to ‘meaning.’” Ex. 115, Bender Report, ¶ 27. LLMs are, in Dr. Bender’s

phrase, “stochastic parrots”: devices that “repeat[] something without understanding it.” Ex. 116,

Bender Tr. 76:4-19. Unsurprisingly, feeding copyrighted material into LLMs results in parroted

outputs derived from that very same copyrighted material. In fact, LLMs cannot generate high-

quality responses unless they are trained on comparable material. Ex. 115 ¶ 22 (“an LLM being

used to synthesize text will only be able to output text that looks like literary fiction if its training
data includes sufficient examples of literary fiction”). For that reason, training an LLM on books


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                   17
     Case 3:23-cv-03417-VC           Document 554-1          Filed 04/24/25      Page 24 of 48



results in copying the very heart of the protected expression within them. See id. ¶ 90 (“The

import of a text lies not just in its length, but in the word choice and grammatical structures it

includes. These are the patterns that the LLMs are designed to represent and serve as the basis for

their functionality in outputting text that mimics all of the genres in their training data.”).

        Thus, Meta does not merely use books as statistical training inputs that are somehow

agnostic to expressive content. Meta relied on books due to that content—what humans wrote—

and then trained LLMs to emulate protected expression from the very authors of those works. In

that sense, Meta’s use of Plaintiffs’ Books as training data is not transformative because it merely

amounts to a “repackaging” of those works in a different format. Meta “merely transforms the
material object embodying the … work” into a tokenized training version. Texaco, 60 F.3d at 923

(italics in original). Moreover, despite Meta’s claim that it “used the copies it made to develop and

train Llama,” Meta Br. at 36, unauthorized repackaging of copyrighted books is not inherently

“integral to transformative and productive ends of scientific research.” Texaco, 60 F.3d at 932

(Jacobs, J., dissenting). Meta therefore “cannot gain fair use insulation . . . simply because such

copying is done by a company doing research.” Id. at 924. Meta’s repeated repackaging of

expressive copyrighted books, even in the course of developing new technology, was not fair use.
                             ii.    Meta’s LLMs have nothing to do with any traditionally
                                    transformative uses.
        Fair use prioritizes “purposes such as criticism, comment, news reporting” and other uses
that “target” the work in question. 17 U.S.C. § 107. Those recognized uses “shed light on the

original’s depiction.” Warhol, 598 U.S. at 547 n.21. Further, the question of transformativeness

“is a matter of degree,” id. at 532, and where a subsequent work has “no critical bearing” on the

prior one such as for criticism or parody, its “‘claim to fairness . . . diminishes accordingly[.]’” Id.

at 546-47 (quoting Campbell, 510 U.S. at 580). Copying may be “helpful” for conveying the

meaning of the subsequent work, “but that does not suffice” to establish transformativeness

because helpfulness alone would not separate legitimate fair users from “would-be fair users” like

“a musician who finds it helpful to sample another artist’s song.” Id. at 547-48; Dr. Seuss, 983




  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                  18
       Case 3:23-cv-03417-VC         Document 554-1         Filed 04/24/25      Page 25 of 48



F.3d at 453 (evoking an original work while failing to ridicule or comment on it favors finding

against fair use).

         Meta asks the Court to find that “Llama is radically transformative” primarily because “it

is an entirely new technology.” Meta Br. at 15. But what Llama actually does dramatically weakens

this claim: according to Meta, Llama “can serve as a personal tutor[,] . . . assist with creative

ideation, and help users to generate business reports,” and so forth. Id. at 3. None of those end uses

have any “critical bearing” on the copyrighted works at issue. Warhol, 598 U.S. at 546. This lack

of targeting the underlying works thus substantially weakens Meta’s claim of transformativeness.

                            iii.   Meta’s use of Plaintiffs’ Books is not protected intermediate
                                   copying.
         Meta and its amici next argue that any copies created during the LLM training process are

nevertheless protected as fair use under what they characterize as the intermediate copying

“exception.” Meta Br. at 17 (citing Sony Comput. Ent., Inc. v. Connectix Corp., 203 F.3d 596, 599

(9th Cir. 2000)); IP Law Professors’ Amicus Brief, Dkt. 509-2 at 8-12. Both briefs misconstrue

the “intermediate copying” doctrine.

         The Copyright Act “unambiguously encompasses and proscribes ‘intermediate copying’.”

Sega Enterprises Ltd. v. Accolade, Inc., 977 F.2d 1510, 1518 (9th Cir. 1992), as amended (Jan. 6,

1993) (citing Walker, 602 F.2d at 864 (“the fact that an allegedly infringing copy . . . may itself be

only an inchoate representation of some final product . . . does not . . . negate the possibility of
infringement”)). In the rare instances when intermediate copying has qualified as fair use, it was

the “only way to gain access to the ideas and functional elements embodied in a copyrighted

computer program.” Connectix, 203 F.3d at 602 (citing Sega). These preconditions, as established

in Sega, plainly do not apply to Meta’s conduct here.

         First, protected “intermediate copying is generally limited to cases involving software.”

Cline v. Reetz-Laiolo, 329 F. Supp. 3d 1000, 1036 (N.D. Cal. 2018).11 The material that Meta

copied in this case is not a “copyrighted computer program,” but rather constituted entire books

11
  Llama, of course, contains software. But that software is not what was unlawfully copied, unlike
in Sega and its progeny.

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                 19
     Case 3:23-cv-03417-VC          Document 554-1          Filed 04/24/25      Page 26 of 48



and other copyrighted textual material. Nor were the copies Meta made “intermediate” at all. Meta

has effectively created a permanent stockpile of millions of copyrighted books and other textual

works to train Llama. Ex. 162, Meta RFAs (admitting Meta stores copyrighted material for training

Llama Models). That stockpile persists at Meta to this day; recently produced documents show

Meta continued to run tests on the pirated books it torrented from Anna’s Archive as recently as

February 2025. Ex. 117, Meta_Kadrey_00237186 (100-page digest showing Meta running near-

continuous tests on pirated datasets from March 2024 through February 2025).

       Second, the Sega line of cases only applies “to the ideas and functional elements” in the

copied work, and only when the copying is done “solely” for this purpose. Sega, 977 F.2d at 1527.
Meta concedes that “Plaintiffs’ works are creative” but says “the aspects of the works that Meta

needed to extract and use to train Llama are unprotected statistical data.” Meta Br. at 22. However,

Meta does not—because it cannot—argue that it copied Plaintiffs’ works solely for this reason,

because Meta wanted and took their expressive content. See § II.B.2, infra. Undisputed evidence

establishes that Meta copied copyrighted works repeatedly and nearly in their entirety. Pltfs’ Br.

at 20-21.

       Third, Sega requires that the intermediate copying be “necessary in order to gain access”

to the needed material. 977 F.2d at 1519. Importantly, however, the Sega court used the word

“necessary” in the strong sense of “no other method . . . was available” to the defendant. Id. at

1522. Though Meta claims broadly that its “use of whole books to train Llama was necessary,” it
never suggests it had “no other method” of gathering equivalent data. Meta Br. at 23. On the

contrary, Meta could have acquired many of the exact same copyrighted works legitimately

through training-data licensing arrangements. See § II.B.4, infra. Thus, pirating books was not

“necessary” for training.

       Finally, in Sega, the court stressed that its fair use determination relied on the fact that the

final product did not contain any infringing material. But here, extensive record evidence shows

regurgitation of training data is a well-known phenomenon that Meta viewed as a significant
problem. E.g., Ex. 118, Meta_Kadrey_00054433 (“Llama is annoyingly good at quoting books


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 20
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25      Page 27 of 48



   .”); Ex. 119, Meta_Kadrey_00000277 (internal Meta presentation titled “Memorization in

LLMs & MME [Memorization Measurement Engine]”); Ex. 120, Esiobu Tr. 62:7-15; 82:22-83:4

(observing regurgitation of text from LibGen by Llama and regurgitation even of fine-tuned Llama

models); Ex. 121, Meta_Kadrey_00049649 (identifying copyright books as a memorization

problem”); Ex. 122, Meta_Kadrey_00063146, at -156 (“North Star: Ensure that models do not

memorize and regurgitate training data”); id. at -157 (“If we end up just ‘obfuscating’ data that we

train by preventing the model from regurgitating it verbatim, that doesn’t seem super ethical.”).

The regurgitation concerns are not limited to Meta’s fact witnesses. Meta’s own expert, Dr. Ungar,

identified significant memorization effects for books, including Plaintiffs’ Books. Ex. 123, Ungar
Tr. 115:8-14 (“What I found was an average for each book, one short passage of roughly 50 tokens

could, with some statistical probability, be reconstructed under these specialized circumstances

designed to make it as easy as possible to reconstruct them.”); Ex. 124, Lopes Rebuttal Rep., Table

4 (compiling results of Dr. Ungar’s continuation experiments). In short, unlike in Sega, Meta’s

Llama models store a memory of their training data, and there is at least a genuine dispute of

material fact whether they can output infringing material. See Ex. 125, LeCun Tr. 129:11-133:2.

                       c. Meta’s conduct evinces a startling degree of bad faith.
       “The propriety of defendant’s conduct” is “relevant to the character of the use.” Harper &

Row, 471 U.S. at 562-63. In evaluating the bad-faith subfactor, the Ninth Circuit applies “the

general rule that a party claiming fair use must act in a manner generally compatible with principles

of good faith and fair dealing.” Perfect 10, 508 F.3d at 1164 n.8. As one court put it, “copyright law

is not concerned with a person’s generally good or bad character – but rather whether that person

obtained copyrighted material using egregious and inappropriate means.” Larson v. Dorland, 693

F. Supp. 3d 59, 83 (D. Mass. 2023).

       In Harper & Row, the Supreme Court held there was no fair use where the defendant

“knowingly exploited a purloined manuscript” because that conduct demonstrated bad faith. 471

U.S. at 563, 569. Here, Meta knowingly exploited and purloined not just a single manuscript, but
tens of millions of copyrighted works. In addition, circumventing licensing requirements generally


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 21
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25      Page 28 of 48



evidences bad faith. See Los Angeles News Serv. v. KCAL–TV Channel 9, 108 F.3d 1119, 1122

(9th Cir.1997) (reversing summary judgment in defendant’s favor where defendant news station

“obtained a copy of the tape from another station, directly copied the original, superimposed its

logo on the LANS footage, and used it for the same purpose for which it would have been used

had it been paid for”). Meta plainly did that here, repeatedly cross-referencing works that could be

obtained via legitimate licensing opportunities against copyrighted works it pirated to see if there

was any reason to pay (and never once licensing as a result). Pltfs’ Br. at 9-10; Ex. 97 at -197-98.

       Instead of denying that it acted in bad faith, Meta tries to downplay the importance of the

bad-faith inquiry. But the Supreme Court has never held that bad faith is irrelevant to fair use, nor
has it overturned the doctrine despite multiple opportunities to do so. Rather, it only suggested that

good faith does not carry the same weight in the opposite direction. Campbell, 510 U.S. at 585

n.18 (expressing skepticism about the relevance of good faith with respect to fair use). Most

recently, the Supreme Court observed that the bad-faith subfactor is a “factbound consideration,”

without disclaiming its bearing on fair use. Oracle, 593 U.S. at 32-33. And because the inquiry is

highly factual, it is usually ill-suited for summary judgment and instead properly decided by the

jury. See Sarl Louis Feraud Int’l v. Viewfinder Inc., 627 F. Supp. 2d 123, 131 (S.D.N.Y. 2008)

(“whether defendant acted in bad faith presents issues of fact for resolution at trial”).
             2. Factor Two: The Nature of the Copyrighted Work
       Factor Two weighs decisively in Plaintiffs’ favor. Plaintiffs’ Books—which include

novels, memoirs, and plays—are original expressive works that lie at the zenith of copyright

protection. See, e.g., Campbell, 510 U.S. at 586 (explaining “some works are closer to the core of

intended copyright protection than others,” and characterizing a “fictional short story,” a “soon-

to-be-published memoir” and “motion pictures” as highly protected works); see also Marcus v.

Rowley, 695 F.2d 1171, 1176 (9th Cir. 1983) (holding even a recipe book was sufficiently

“creative” to render this factor neutral).

       Meta attempts to maneuver around settled law by arguing that books are merely statistical
data. Meta Br. at 21-22. That argument is nonsensical and contrary to the record. As no party



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 22
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25       Page 29 of 48



meaningfully disputes, Meta copied long-form books precisely because they contain creative

elements that accurately reflect human expression—the very heart of what copyright protects. See

Meta Br. at 1 (describing Llama as “an extraordinary technology capable of providing human-like

responses”). Meta viewed books as a particularly high-quality source of LLM training data for that

reason. Pltfs’ Br. at 5-6. Regardless of how Meta processed the data, it preserved the arrangement

of the words and therefore the creative expression inherent in the works. Ex. 115 ¶¶ 19, 82, 86.

       None of the cases Meta cites are on point. In Connectix, a case involving reverse-

engineering of computer code, the Ninth Circuit stated the copied code fell “at a distance from the

core [copyright-protected works] because it contains unprotected aspects that cannot be examined
without copying.” 203 F.3d at 603. The unprotected elements of the computer code were not

embodiments of the programmer’s creative expression, but instead were purely “functional”

features such as the code enabling a video game cartridge’s compatibility with a console. See Sega,

977 F.2d at 1522-23. And Google Books is an immediate dead end. Meta cites it for the proposition

that factor two favors fair use “where published books were copied to extract information about

the words they contain, not for their expression.” Meta Br. at 22. Meta completely ignores the rest

of the Court’s analysis, namely: (1) copyright does protect an “author’s manner of expressing

[unprotected] facts and ideas”; (2) those plaintiffs’ books were “factual,” not “fiction”; and (3) “the

second factor considered in isolation” did not “influence[] us one way or the other.” Id.
            3. Factor Three: The Amount and Substantiality of the Portion Used
       Meta fails to acknowledge the general rule for factor three—“[w]hile wholesale copying

does not preclude fair use per se, copying an entire work militates against a finding of fair use.”

Napster, 239 F.3d at 1016. Meta concedes it knowingly copied the entirety of millions of

copyrighted works without any compensation to their authors. See Meta Br. 23 (admitting Meta

took and used “whole books to train Llama”). Instead, Meta argues “copying an entire work is fair

where reasonable or necessary to achieve the purpose of the fair use.” Meta Br. at 22-23. None of

Meta’s cited cases employ the term “reasonable” in this way. Not only is necessity the pertinent
test in assessing Factor 3, but passing it merely gets the new user a “draw” on the factor. Elvis



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                  23
       Case 3:23-cv-03417-VC        Document 554-1         Filed 04/24/25      Page 30 of 48



Presley Enters. v. Passport Video, 349 F.3d 622, 630 (9th Cir. 2003), overruled on other grounds

(“[I]f the new user only copies as much as necessary for his or her intended use, this factor will

not weigh against the new user.”) (emphasis added); Monge v. Maya Mags., 688 F.3d 1164, 1179

(9th Cir. 2012) (defendant “copied 100 percent of the copyrighted photos at issue,” which was “far

more than was necessary to corroborate its story”). Meta’s cited authority supports the same

application.12 Use of the entirety of the copyrighted works is not necessary for any of Meta’s

uses—or, at a minimum, there are factual issues concerning the necessity of Meta’s wholesale

exploitation.13

         Additionally, Meta relies heavily on a comparison between the way the search function in
Google Books gave users access to a limited portion of copied works and the way Meta’s use

purportedly “does not make any significant portion of the texts available to Llama users.” Meta

Br. at 23-24. That Google Books analysis, however, depended on finding that the search function’s

limited outputs had no significant effect on the copyrighted works’ performance in the sale of

books, which was the only market at issue. 804 F.3d at 222-23; see Meta Br. at 22:23-26 (“what

matter[ed]” in Google Books was “‘the amount and substantiality of what is thereby made


12
   Kelly v. Arriba Soft Corp, 336 F.3d 811, 820-21 (9th Cir. 2003) (“If the secondary user only
copies as much as is necessary for his or her intended use, then this factor will not weigh against
him or her.”) (emphasis added); Perfect 10, 508 F.3d at 1167 (applying the same “necessary”
analysis); Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 98 (2d Cir. 2014) (“The crux of the
inquiry is whether ‘no more was taken than necessary.’”) (emphasis added) (quoting Campbell,
510 U.S. at 589) (emphasis added); Google Books, 804 F.3d at 221 (noting Hathitrust’s holding
that wholesale use was found to be “reasonably necessary” for the relevant use, and finding
Google’s wholesale book use was “literally necessary” to achieve Google’s purpose of “advising
searchers reliably whether their searched term appears in a book (or how many times)”) (emphasis
added); Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 613 (2d Cir. 2006)
(“[C]ourts have concluded that [wholesale] copying does not necessarily weigh against fair use
because copying the entirety of a work is sometimes necessary to make a fair use of the image.”)
(emphasis added).
13
   As in the rest of Meta’s Brief, Meta’s argument concerning Factor 3 is limited only to LLM
training. Meta’s initial use—copying the entirety of copyrighted books from known pirated sites—
cannot be validly justified, and Meta does not try. E.g., Hachette, 115 F.4th at 190 (“[IA] copies
the Works in full and makes those copies available to the public in their entirety. . . . At least in
this context, it is difficult to compete with free.”) (emphasis added); see also Glacier Films, 896
at 1043 (“downloading or uploading of the copyrighted work” via a P2P network cannot possibly
be “permitted by the doctrine of fair use”).

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                 24
     Case 3:23-cv-03417-VC           Document 554-1       Filed 04/24/25      Page 31 of 48



accessible to a public for which it may serve as a competing substitute”) (emphasis in original).

Factor four, infra, extensively discusses how Meta’s use of the entirety of Plaintiffs’ Books harmed

them in multiple relevant markets.

       Further, with respect to Llama training, Meta provides zero record evidence supporting its

contention that using “whole books to train Llama was necessary for” Llama training. See Meta

Br. at 23 (emphasis added); id. (“Llama’s utility depends on copying whole books (and many other

data sources)”). The exclusive support Meta provides for that grandiose claim is a quote from

Plaintiffs’ opening brief that says absolutely nothing about the reasonableness—much less the

necessity—of using the entirety of copyrighted works, and instead only describes books as “high-
quality text data” that are “uniquely valuable for developing longer-context windows.” See id. at

23. Meta thus fails to cite any on-point support for the marginal utility of using the entirety of

copyrighted books or other literary works, as opposed to any smaller portion of those works. See

HathiTrust, 755 F.3d at 98; Campbell, 510 U.S. at 586-87; Google Books, 804 F.3d at 221. Factor

3 requires a fact-intensive and context-specific analysis of whether wholesale copying was

necessary for any of Meta’s uses, including but not limited to Llama training. See generally Monge,

688 F.3d at 1178-80; Campbell, 510 U.S. at 586-89. At the very least, Meta must present more

than zero on-point record evidence to satisfy its heavy burden on summary judgment.
            4. Factor Four: The Effect of the Use On the Potential Market for or Value of
               the Copyrighted Work.
       The fourth factor is concerned with the threat of market substitution, expressly requiring

consideration of “the effect of the use upon the potential market for or value of the copyrighted

work.” 17 U.S.C. § 107(4). At issue here are the fact-bound, use-specific questions of whether

Meta’s conduct harms multiple markets for Plaintiffs’ Books or, if the conduct were “unrestricted

and widespread,” the potential markets for the books. McGucken v. Pub Ocean Ltd., 42 F.4th 1149,

1163 (9th Cir. 2022).

       Meta claims “there was no market to license Plaintiffs’ works for LLM training”; “there

still is not”; and “no such market is likely to develop.” Meta Br. at 26. These statements are
breathtaking in light of the factual record. From the very beginning of Meta’s LLM program, Meta


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                25
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25      Page 32 of 48



believed that licensing would be required to fulfill its training data needs. Overwhelming evidence

shows the existence of an already robust and growing licensing market for LLM training. Further

evidence shows the existence of the longstanding market for book sales—at least 692 of which

were denied to Plaintiffs by Meta’s use of pirated market substitutes. Meta cannot meet its heavy

burden to disprove market harm by simply pretending that a rapidly growing market does not exist.

McGucken, 42 F.4th at 1163 (at summary judgment, the burden is on “the proponent of the

affirmative defense of fair use [to] bring forward favorable evidence about relevant markets”).
                       a. Meta’s conduct harms the evolving market for books as AI
                          training data.
       “[A] copyright holder is entitled to demand a royalty for licensing others to use its

copyrighted work, and . . . the impact on potential licensing revenues is a proper subject for

consideration in assessing the fourth factor.” Hachette Book Grp., Inc. v. Internet Archive, 115

F.4th 163, 192 (2d Cir. 2024). Meta made hundreds of copies of Plaintiffs’ Books, including for

use in training LLMs. This infringing use is the same one that motivates Meta and other LLM

companies to license books as training data. Meta explicitly treats its repositories of pirated books

as direct substitutes for licensed versions. See Ex. 97, at -197-98. Courts universally recognize that

this sort of direct substitution inflicts a cognizable harm on the licensing market for a copyright

holder’s works. See, e.g., McGucken, 42 F.4th at 1163; Monge, 688 F.3d at 1181; Napster, 239

F.3d at 1016; Texaco, 60 F.3d at 927 (finding market harm where defendant made complete copies
of individual journal articles for the same use that they are licensed for); On Davis v. The Gap,

Inc., 246 F.3d 152, 176 (2d Cir. 2001), as amended (May 15, 2001) (finding fourth factor weighed

against fair use where defendant “avoided paying ‘the customary price’ [plaintiff] was entitled to

charge for the use of his design” by taking the design for free) (quotation marks omitted).

       The demand for AI training data has already been recognized as a potentially exploitable

market for copyright holders. Thomson Reuters Enter. Ctr. GMBH v. Ross Intel. Inc., 2025 WL

458520, at *9 (D. Del. Feb. 11, 2025) (recognizing potential market for copyrighted text as “data

to train legal AIs”) (Bibas, J.) (on appeal); Ex. 126, Spulber Opening Report, ¶ 23 (“[T]here is a
well-established, large, and rapidly growing market for licenses to train LLMs on books and other


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 26
Case 3:23-cv-03417-VC   Document 554-1   Filed 04/24/25   Page 33 of 48
Case 3:23-cv-03417-VC   Document 554-1   Filed 04/24/25   Page 34 of 48
Case 3:23-cv-03417-VC   Document 554-1   Filed 04/24/25   Page 35 of 48
Case 3:23-cv-03417-VC   Document 554-1   Filed 04/24/25   Page 36 of 48
     Case 3:23-cv-03417-VC           Document 554-1         Filed 04/24/25      Page 37 of 48



to Meta that they can license some books independently and coordinate with authors for others).

The insinuation that the mere existence of transaction costs renders an entire market infeasible is

certainly false—every market has a mix of willing buyers and sellers at varied price points. Meta

also presupposes it has some absolute right to train Llama on any content it desires, irrespective of

the appetite of the content owner. Meta has no such right. Instead, it has the right to participate in

the established market for LLM training data (and book markets more generally), where it can

make business decisions on what content to license and how much to pay to acquire those licenses

from willing licensors.

       History also shows that once online piracy is judicially prohibited, market forces naturally
react by developing legitimate alternatives. Take Napster, for instance. Shortly after Napster was

enjoined, “record companies [developed] license agreements or joint ventures with other Internet

companies to distribute their music.” 1 Lindey on Entertainment, Publ. & the Arts § 2:28 n. 36 (3d

ed. 2024). Apple’s iTunes proliferated immediately in Napster’s aftermath, “allow[ing] users to

legitimately download music at 99 cents per song.” Id. The lesson is clear: once major participants

in pirated markets are forced to use legitimate alternatives to obtain copyrighted content, those

markets subsequently develop, even where collective licensing is necessary. In light of the already-

growing market for licensing books as AI training data, there is little reason to believe a similar

result is impossible here—which is what Meta claims to be the case, and what Meta needs to prevail

as a matter of law.
                             v.    Meta’s cases are easily distinguished.
       Even if Meta were somehow correct that this massive licensing market does not exist or is

categorically unavailable to Plaintiffs, Meta’s cases are readily distinguishable because they

involved circumstances lacking any evidence of even a potential licensing market for the infringed

works for the uses at issue. Tresóna Multimedia, LLC v. Burbank High Sch. Vocal Music Ass’n

stands for the unsurprising proposition that the use of 20 seconds of a copyrighted song in the

context of “nonprofit show choir performances” would not displace the market for the entire song.
953 F.3d 638, 652 (9th Cir. 2020). Seltzer v. Green Day, Inc. is also of no help to Meta. 725 F.3d



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 31
       Case 3:23-cv-03417-VC         Document 554-1         Filed 04/24/25       Page 38 of 48



1170 (9th Cir. 2013). There, the court could not determine harm to a licensing market because the

plaintiff “provide[d] no additional information” to demonstrate a developing market. Id. at 1179.20

Finally, Meta’s heavy reliance on Bill Graham Archives is misplaced because in that case, there

was no evidence that the copyright holder “lost license revenue from the uses at issue here.” 448

F.3d at 615 n.6. (emphasis added). That is decidedly not the case here, where Meta pirated exact

copies of Plaintiffs’ Books and used them as AI training data rather than licensing the Books as

AI training data.
                       b. Meta’s conduct harms Plaintiffs’ book sale market.
         Meta concedes there is an established market for purchasing Plaintiffs’ copyrighted books.
See e.g., Ex. 142, Sinkinson Report ¶ 51. At minimum, Meta’s unauthorized copying deprived

Plaintiffs of sales revenue for copies of their Books that Meta made without authorization. See Ex.

3; Dkt. 485, ¶ 100 (Meta admits it did not seek or obtain Plaintiffs’ permission). There is concrete

evidence of actual harm from both Meta’s specific piracy and widespread piracy by others: it costs

the publishing industry hundreds of millions of dollars per year.21 The harms attendant to stealing

copyrighted works instead of paying for them are obvious and intuitive. See, e.g., Andy Warhol

Found. for the Visual Arts, Inc. v. Goldsmith, 11 F.4th 26, 50 (2d Cir. 2021) (“That harm [the

destruction of the broader market if the copying Warhol engaged in were to become widespread]

is . . . self-evident.”) aff’d 598 U.S. 508 (2023); McGucken, 42 F.4th at 1163 (explaining that

substitution “if carried out in a widespread and unrestricted fashion . . . would destroy [plaintiffs’]

licensing market”); Hachette, 115 F.4th at 193 (noting that courts do not require empirical data to

20
   Meta claims—contrary to precedent—that Plaintiffs not having licensed their materials in the
first instance precludes them from asserting a loss in the developing market, even though their
cited cases do not support such a conclusion. See Video-Cinema Films, Inc. v. Cable News
Network, Inc., 2001 WL 1518264, at *8 (S.D.N.Y. Nov. 28, 2001) (comparing its use of entire
works to the use of clips that were “too few, too short, and too small in relation to the whole,” in
a case without evidence of a market); Kienitz v. Sconnie Nation LLC, 766 F.3d 756, 758 (7th Cir.
2014) (plaintiff would have been able to license photograph for apparel whereas Meta’s conduct
obliterates licensing opportunity if practice widespread among LLM developers).
21
    See DAVIS, CHERYL L. & KAZI, UMAIR, PIRACY OF BOOKS IN THE DIGITAL AGE, IN THE
ROUTLEDGE COMPANION TO COPYRIGHT AND CREATIVITY IN THE 21ST CENTURY, 21 (BOGRE,
MICHELLE AND WOLFF, NANCY EDS., 2020) (noting that in 2017, the publishing industry lost over
$315 million dollars due to pirated direct substitution).

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                  32
       Case 3:23-cv-03417-VC          Document 554-1           Filed 04/24/25       Page 39 of 48



support the “logical inference[]” that approving of infringing use leaves “little reason for

consumers . . . to pay . . . for content they could access for free”).22

         Meta’s arguments thus ignore both reality and the evidence in this case: Meta’s theft

unquestionably cost each Plaintiff at least one book sale—the lost sale to Meta. Ex. 126 ¶ 273

(“Meta deprived authors of revenues from book sales by making unauthorized copies of their

works.”). Straightforward substitution inflicts an obvious harm to the purchasing and licensing

markets for Plaintiffs’ works. See Campbell, 510 U.S. at 591 (“when a commercial use amounts

to mere duplication of the entirety of an original, it clearly supersedes the objects . . . of the original

and serves as a market replacement for it, making it likely that cognizable market harm to the
original will occur”) (cleaned up).

         Meta offers no evidence to refute the lost sales resulting from its pirated acquisition of

Plaintiffs’ works. Instead, Meta focuses only on whether users deployed Llama to write books that

competed with Plaintiffs’. Its assertion that Plaintiffs admitted they did not lose sales or licensing

revenue is misleading. Meta’s RFAs asked Plaintiffs to admit they were unaware of lost sales

“other than [their] contention[s] that LLM developers such as Meta should have compensated

[them for the] alleged use [of their] Asserted Works to train large language models.” Ex. BG 8

(emphasis added). Meta qualified these RFAs because Plaintiffs uniformly denied earlier

unqualified RFAs regarding lost sales—stating that their works were “copied by Meta without

consent, without credit, and without compensation.” Ex. 4. The relevant question is about lost sales
related to Meta’s piracy and use of their books for training without consent, which several

Plaintiffs pointed out in their depositions.23 Notably, Meta’s experts ignored lost sales from Meta’s


22
   Though Plaintiffs’ infringement claims are not based on Llama’s outputs, Dr. Spulber notes that
Llama’s output harm authors, such as “depriving Plaintiffs of revenues by using copyrighted books
as inputs to allow the creation of works that could compete with Plaintiffs’ works.” Ex. 126 ¶ 192.
Dr. Spulber points to the “AI-generated copycat books, often of low quality, flooding Amazon and
affecting demand for authors’ books.” Id. ¶ 199.
23
   See, e.g., Ex. 145, Klam Tr. 335:9-17 (“Q. Are you aware of any instance in which someone
chose not to take a license from you for AI training because of something Meta did? A. I’m not
sure where we are here. No one has offered to license any of my work for AI training. Q. Okay.



     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                    33
     Case 3:23-cv-03417-VC          Document 554-1         Filed 04/24/25      Page 40 of 48



piracy. Ex. 144, Sinkinson Tr. 257:2-11 (admitting he did not consider “the impact of piracy on

book sales”); Ex. 140, 291:11-18 (Bakewell relying entirely on Sinkinson’s book sales analysis).

       Meta’s focus on whether Llama users create competing works is misplaced. But there are

disputed facts about that too. Dr. Spulber observed the influx of “AI-generated copycat books,

often low quality, flooding Amazon and affecting demand for authors’ books.” Ex. 126 ¶ 199, see

also ¶¶ 200-203. Meta’s expert claimed to offer opinions about Plaintiffs’ book sales in the eight

weeks after the Llama 3’s release, but he only reviewed book sale ranks, not actual book sales. Ex.

142 ¶¶ 93, 283. He later admitted the impact of Llama 3 would not even be fully observable within

the eight weeks he considered. Ex. 144, 76:16-21. Such a methodologically flawed analysis of
book ranks on a single website over the span of just eight weeks cannot offer any meaningful

conclusions about Plaintiffs’ book sales, much less wrest a critical fact from the jury.
                       c. Public benefit considerations support Plaintiffs.
       Meta sidesteps the effect widespread piracy would have on the licensing market and

focuses instead on the benefit from AI. Meta flatly misstates the proper analysis. When weighing

public benefit, courts are to consider the benefit achieved from the copying itself. Oracle, 593 U.S.

at 35 (“[W]e must take into account the public benefits the copying will likely produce.”)

(emphasis added); see also New York Times Co. v. Microsoft Corp., 2024 WL 4874436, at *3 n.3

(S.D.N.Y. Nov. 22, 2024) (“[A] discussion of ‘public benefits’ must relate to the benefits from the

copying.”). There is no public benefit to Internet piracy, and Meta’s own employees had serious

misgivings over using pirated works. Ex. 32 (“I feel that using pirated material should be beyond

our ethical threshold.”).

       Meta’s employees were right to identify the dissonance between Meta’s claims and its

actual practices. In analyzing the Fourth Factor, courts consider whether the conduct of the alleged

infringer—if unrestricted—would “create incentives to pirate intellectual property.” Monge, 688



A. That’s why we are suing you guys.”) (emphasis added), Silverman Tr. 204:20-23 (“Q. Are you
aware of any instance in which somebody wanted to pay to license use of your work but chose not
to because of something Meta did? A. Meta itself and ChatGPT.”) (emphasis added), Kadrey Tr.
222:10-15 (Meta’s attorney acknowledging lost licensing opportunity to Meta).

  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 34
       Case 3:23-cv-03417-VC         Document 554-1         Filed 04/24/25       Page 41 of 48



F.3d at 1182; Dr. Seuss, 983 F.3d at 461 (finding defendant’s unrestricted and widespread

unauthorized use of Oh, the Places You’ll Go! in derivative work “could create incentives to pirate

intellectual property and disincentivize the creation of illustrated books”) (quotation marks

omitted). It is undisputed that Meta avoided paying any of the Plaintiffs a purchase price or a

licensing fee by pirating their works instead. And it is self-evident that the market to license

Plaintiffs’ works as training data would be fatally undermined if all LLM companies followed suit.

See generally Hachette, 115 F.4th at 163 (noting courts do not require empirical data to support

the “logical inference[]” that approving of infringing use leaves “little reason for consumers . . . to

pay . . . for content they could access for free”). Plaintiffs cannot “compete with free.” Id. at 190.
        For this reason, approving Meta’s conduct would incentivize far-reaching piracy of

copyrighted works. Meta torrented hundreds of copies of Plaintiffs’ works from multiple

established black-market websites. A determination that such conduct is fair use will incentivize

all LLM companies—present and future—to pirate. It will also incentivize LLM companies to

support and defend such shadow libraries that continue to make stolen works available for free.

        Finally, the speculative public benefits of Llama—e.g., providing a platform that enables

innovative and “life-saving services and technology”—would also appear to provide a great

commercial benefit to Meta. Br. at 32. Meta’s desire to find profitable commercial applications for

Llama cannot justify its refusal to pay for the works used to help build it. See generally Harper &

Row, 471 U.S. at 559 (“To propose that fair use be imposed whenever the social value of
dissemination outweighs any detriment to the artist, would be to propose depriving copyright

owners of their right in the property precisely when they encounter those users who could afford

to pay for it.”) (quoting Gordon, Fair Use as Market Failure: A Structural and Economic Analysis

of the Betamax Case and its Predecessors, 82 COLUM. L. REV. 1600, 1615 (1982)) (quotation

marks omitted).

III.    META’S INTENTIONAL CMI STRIPPING VIOLATED THE DMCA
        The record is replete with evidence that Meta’s intentional removal of CMI was done
“knowing . . . [or] having reasonable grounds to know” that this conduct would “conceal an


  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                  35
       Case 3:23-cv-03417-VC         Document 554-1         Filed 04/24/25     Page 42 of 48



infringement.” 17 U.S.C. § 1202(b)(1). No more is needed to establish liability under the DMCA.

See Stevens v. Corelogic, Inc., 899 F.3d 666, 674 (9th Cir. 2018) (Section 1202(b)(1) requires a

showing “that the defendant was aware or had reasonable grounds to be aware of the probable

future impact of its actions.”). Summary judgment on the DMCA claim should be denied due to

the existence of significant material facts in dispute regarding why Meta knowingly removed CMI.

         A. There Is No Dispute That Meta Intentionally Removed CMI From Copyrighted
            Books.
         Meta does not dispute it intentionally removed “Copyright Management Information”

(“CMI”)—including the title, date, author’s name, and copyright notice—from millions of

copyrighted works it copied from pirated databases.24 Meta Br. at 38 (citing Meta witnesses’

testimony about its CMI removal); Answer, Dkt. No. 485, ¶ 89 (admitting Meta ran a script

designed to remove from training data “lines that contain the word ‘copyright’” and other

“repetitive text”). To do so, Meta wrote a script that systematically stripped CMI from the first

25% and last 25% of each copyrighted literary work it downloaded from LibGen, including

“[r]ows containing . . . [“ISBN”, “Copyright”, “©”, “All rights reserved”, “DOI”].” Ex. 56 at -

798-99; see also Ex. 146, Krein Opening Report, ¶¶ 146-150. Meta also stripped CMI from all of

the pirated books in its Books3 dataset. Ex. 147, Lopes Opening Report, ¶¶ 148-151. Meta thus

concedes its removal of CMI was intentional.
         B. There Is A Genuine Dispute Whether Meta Concealed Copyright Infringement.
         Meta argues that CMI is “duplicative, boilerplate text” and that its systematic stripping of
such text from copyrighted pirated works was aimed only to “enhanc[e] the overall quality of the

datasets,” rather than conceal Meta’s use of copyrighted works. Dkt. 494, Bashlykov Decl., ¶ 9;

Meta Br. at 38-39. Facts in the record contradict that claim.25




24
  See 17 U.S.C. § 1202(c) (defining “CMI”).
25
   Further, to the extent that the Court decides the use of copyrighted material by the LLM
constitutes copyright infringement, that serves as a concession that Meta’s CMI stripping also
“facilitated” such infringement in violation of the DMCA regardless of Meta’s motive in doing so.

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                 36
     Case 3:23-cv-03417-VC          Document 554-1         Filed 04/24/25      Page 43 of 48




            1. Meta’s CMI Removal Concealed the Copyrighted Nature of its Training
               Data.
       Meta’s CMI removal was one of several tactics Meta used to conceal from the public

(including rightsholders) its use of pirated works in training data due to the legal, regulatory, and

reputational risks of training on such data. See, e.g., Ex. 61 at -246 (“If there is media coverage

suggesting we have used a dataset we know to be pirated, such as LibGen, this may undermine our

negotiating position with regulators”); see also id. at -245 (“in no case would we disclose publicly

that we had trained on libgen”) (emphasis in original). Indeed, Meta ceased identifying all sources

of its training data after its Llama 1 publication, which disclosed Meta’s use of Books3. Pltfs’ Br.
at 7; Ex. 125, 24:21-26:15 (noting datasets used to train Llama 2 and 3 were not disclosed publicly,

which was “a decision by our legal department” and LeCun had “no input”).

       Within months of that release, the pirated origins of Books3 were chronicled in an Atlantic

exposé, causing Meta employees to discuss whether the public could “deduce” that Meta continued

to use Books3 with Llama 2. Ex. 156, Meta_Kadrey_00054905, at -905; Ex. 148,

Meta_Kadrey_00063472, at -475 (stating in response to The Atlantic exposé on Books3 that

Meta’s continued use of Books3 was not shared externally). In addition to no longer disclosing its

training data, Meta finetuned its Llama models to state they weren’t trained on pirated copyrighted

data when prompted by end users. Ex. 149, Meta_Kadrey_00054518, at -518-524 (discussing

streamlining finetuning strategies to prevent public exposure of Meta’s use of pirated data); Ex.

150, Touvron Tr. 403:11-404:7 (discussing Meta AI responding “no” to a query whether it was

trained on LibGen and recognizing the answer it was trained to give was false).

       CMI stripping was another tool in Meta’s arsenal to conceal its use of pirated training data.

By removing CMI from works still under copyright, Meta sought to reduce the chance that CMI,

such as the © symbol, could be regurgitated, which would alert the public to the use of copyrighted

material. Meta also tried to reduce the risk of its models memorizing and regurgitating copyright

protected data verbatim. That LLMs memorize their training data is a well-known phenomenon.
See, e.g., Ex. 151, Ungar Opening Report, ¶ 199 (“LLMs tend to memorize facts, phrases, and



  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                 37
       Case 3:23-cv-03417-VC        Document 554-1         Filed 04/24/25      Page 44 of 48



texts that appear very frequently in their training data”). Meta extensively studied “memorization”

tendencies in its models, using adversarial prompts and other approaches to test its models’

propensity to regurgitate training data. Ex. 120, 56:22-57:16 (discussing memorization studies at

Meta). Llama’s memorization was a serious problem that could block or postpone the launch of a

model,26 and Meta was uniquely concerned about Llama regurgitating two kinds of data in

particular: copyrighted data (which Meta often referred to as “IP”27 data) and data containing “PII,”

or personal identifying information. Ex. 119 (“Memorization in LLMs & MME”); Ex. 121 at -653

(describing “metrics for text memorization” regarding “PII” and “IP/Copyright (books)”); Ex. 152,

Meta_Kadrey_00053071, at –126.00003 (“All datasets approved for use, memorization issue (PII
and IP addressed)”). With respect to copyrighted data, Meta developed mitigations that aimed to

reduce memorization risks of “IP sensitive data”—in other words, copyrighted books. Ex. 120

101:1–102:1.28

         As Meta’s corporate deponent testified, Meta’s removal of “copyright information” was

motivated also by “regurgitation concern[s].” See Ex. 155, Clark Tr. (Mitigation), 58:21-25. Meta

knew CMI carried heightened memorization risks since copyright notices are “repeated

substring[s] of data” “prone to [being] memoriz[ed] . . . and then generate[d].” Ex. 156,

Meta_Kadrey_00054905, at -906; see also Ex. 120, 72:3-19 (testifying Meta was “concern[ed]”

about “the repetitive nature of . . . [copyright] notices” and removed them “to avoid kind of the

model, like, regenerating text that it had seen before”); Ex. 155, 43:24-44:3 (“among the data being
removed . . . [t]he copyright information and line spacing and emails, part of that is for preventing


26
   Ex. 153, Meta_Kadrey_00048554 (discussing “model memorization” with “launch blocking”
risks); Ex. 154, Meta_Kadrey_00080247 (discussing whether the company considered “any of the
uncommitted       mitigations    as     launch-blocking     requirements”      and      referencing
“Copyright/Memorization Mitigations”).
27
   Meta consistently used “IP” as a shorthand for “copyrighted books.” Ex. 121 at -653.
28
   This included “deduplicating” data (or removing data that appeared repeatedly across datasets)
and minimizing “epoching” (or training repeatedly on the same datasets). See, e.g., Ex. 157, Nayak
30(b)(1) Tr. 231:14-233:11 (discussing “copyright memorization mitigations”); Ex. 120, 56:13-20
(identifying “deduplication” as a method for “mitigating regurgitation”); Ex. 158,
Meta_Kadrey_00049684, at -689 (“increase epoching on Wikipedia” resulted in Llama models
“repeating Wikipedia articles verbatim”).

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                 38
       Case 3:23-cv-03417-VC        Document 554-1          Filed 04/24/25   Page 45 of 48



regurgitation”). Notably, Meta’s script removed CMI and “PII”—i.e., the very data Meta singled

out as legally risky if it’s regurgitated. Ex. 56 at -798-99 (documenting the removal of PII and

copyright data); Ex. 119 (identifying “PII” and “IP/copyright” as a memorization focus).
             2. Meta’s Inconsistent CMI Stripping Reveals the Pretextual Nature of its
                Justification, Further Precluding Summary Judgment.
         According to Meta, stripping CMI from copyrighted works in its training datasets served a

singular purpose: elimination of “noisy” text from the datasets whose inclusion would hurt model

performance. For its argument to hold water, Meta needed to strip the CMI from all books it used

for training, whether currently copyrighted or in the public domain. CMI is CMI, after all, and its

“noisiness” should not depend on the age of the book. But Meta did the exact opposite. While Meta

removed CMI from the pirated works in LibGen and Books3, it did not strip CMI from public

domain books it used from Project Gutenberg, an online library of free ebooks that are out of

copyright. In Meta’s “B3G” training dataset,29 which combines Books3 (“B3”) and Project

Gutenberg (“G”), every text in Books3 opens with the fields “footer_strip_count” and

“header_strip_count,” indicating the CMI that Meta removed from these works. Ex. 147, ¶ 150.

But this (or comparable) language appears nowhere in Meta’s copy of public domain works from

Project Gutenberg, despite the fact that both sets were processed at the same time. Ex. 159, Clark

Tr. Vol. III at 294-295 (discussing data processing of B3G). Instead, the Project Gutenberg books

contain their original CMI: approximately 12,000 intact copyright notices. Butterick Decl. ¶ 15;
Ex. B (summary table). Meta’s decision to remove CMI from books it knew to be pirated and still

under copyright, while not removing CMI from books no longer under copyright, clearly raises a

triable issue of fact about Meta’s “culpable scienter.”30


29
   The B3G dataset is housed within a physical hard drive labeled Meta_Kadrey_Data_001. This
hard drive, along with four others, were authenticated as Meta’s training data. Ex. 103, 16:15-
17:10; 136:20-137:3.
30
   Meta’s argument that Plaintiffs’ DMCA claim fails if there is a finding of fair use lacks merit.
The only court to address this issue held fair use does not preclude liability under § 1202(b).
Murphy v. Millennium Radio Grp., 2015 WL 419884, at *4-5 (D.N.J. Jan. 30, 2015) (“Congress
could have easily drafted § 1202(b) to include a strict resulting infringement requirement, yet it
did not.”).

     PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
                                                 39
      Case 3:23-cv-03417-VC         Document 554-1        Filed 04/24/25      Page 46 of 48



       An internal debate within Meta to reintroduce “source metadata”—or CMI—back into

Meta’s LLM training data further undercuts Meta’s argument. Ex. 155, 46:23-47:1 (stating that

the CMI that Bashlykov removed through his script “was a subset of the overall data that was being

tested and evaluated as part of the source metadata strategy”). By returning CMI back to works in

its LLM training data, Meta wondered if Llama could identify the “source” of information in its

outputs. Id. 46:11-17 (stating Meta’s source metadata project aimed to test whether Meta could

know where “knowledge came from” when the model answered the question, “was Abraham

Lincoln a president”); Ex. 160, Meta_Kadrey_00054416 (discussing benefits of training on CMI

in relation to “better controllability/citations/maybe some positive pretraining effect”). But these
potential rewards were offset by the risk of public exposure of this pirated data, which Meta

employees described once again as “not acceptable from an IP/brand safety leakage perspective.”

Id.; Ex. 155, 53:16-54:15 (describing “the leakage of source metadata” as the regurgitation of “the

exact combination of datasets and/or data Meta trained on for that model”) (emphasis added). As

Meta engineer Melanie Kambadur stated: “we have to be basically 100% confident no one can

extract this data, and based on previous memorization work we do not think we can be.” Ex. 160.

To make training on CMI “safer”—that is, reduce its recognized legal and reputational risk—Meta

experimented with encryption, converting CMI into hashes in relation to parts of its web crawled

data and its “libgen-fiction” set. Ex. 137, Meta_Kadrey_00179968, at -970-71. Yet even training

on encryptions of “titles,” “author,” and “urls” did not quell Meta’s concerns about the “legal
issues” if “people . . . figure out the hash associated” with different data on which Meta trained.

Id. at -971 (Comment 5); Ex. 155, 55:18-25. These facts create a genuine dispute whether Meta

removed CMI from copyrighted works to conceal infringement.

IV.    CONCLUSION
       For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

motion for partial summary judgment and deny Meta’s cross-motion for partial summary

judgment.




  PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                          CASE NO. 3:23-cv-03417-VC
                                                40
   Case 3:23-cv-03417-VC         Document 554-1     Filed 04/24/25        Page 47 of 48




                                               Dated: April 7, 2025

                                               By: /s/ Maxwell V. Pritt
                                                     Maxwell V. Pritt
LIEFF CABRASER HEIMANN &                       BOIES SCHILLER FLEXNER LLP
BERNSTEIN, LLP                                 David Boies (pro hac vice)
Elizabeth J. Cabraser (SBN 083151)             333 Main Street
Daniel M. Hutchinson (SBN 239458)              Armonk, NY 10504
Reilly T. Stoler (SBN 310761)                  (914) 749-8200
275 Battery Street, 29th Floor                 dboies@bsfllp.com
San Francisco, CA 94111-3339
(415) 956-1000                                 Maxwell V. Pritt (SBN 253155)
ecabraser@lchb.com                             Margaux Poueymirou (SBN 356000)
dhutchinson@lchb.com                           Joshua M. Stein (SBN 298856)
rstoler@lchb.com                               44 Montgomery Street, 41st Floor
                                               San Francisco, CA 94104
Rachel Geman (pro hac vice)                    (415) 293-6800
250 Hudson Street, 8th Floor                   mpritt@bsfllp.com
New York, New York 10013-1413                  mpoueymirou@bsfllp.com
(212) 355-9500                                 jstein@bsfllp.com
rgeman@lchb.com
                                               Jesse Panuccio (pro hac vice)
Kenneth S. Byrd (pro hac vice)                 Jay Schuffenhauer (pro hac vice)
Betsy A. Sugar (pro hac vice)                  1401 New York Ave, NW
222 2nd Avenue South, Suite 1640               Washington, DC 20005
Nashville, TN 37201                            (202) 237-2727
(615) 313-9000                                 jpanuccio@bsfllp.com
kbyrd@lchb.com                                 jschuffenhauer@bsfllp.com
bsugar@lchb.com
                                               Joshua I. Schiller (SBN 330653)
JOSEPH SAVERI LAW FIRM LLP                     David L. Simons (pro hac vice)
Joseph R. Saveri (SBN 130064)                  55 Hudson Yards, 20th Floor
Cadio Zirpoli (SBN 179108)                     New York, NY 10001
Christopher K.L. Young (SBN 318371)            (914) 749-8200
Holden Benon (SBN 325847)                      jischiller@bsfllp.com
Aaron Cera (SBN 351163)                        dsimons@bsfllp.com
601 California Street, Suite 1505
San Francisco, California 94108                Interim Lead Counsel for Individual and
(415) 500-6800                                 Representative Plaintiffs and the Proposed Class
jsaveri@saverilawfirm.com
czirpoli@saverilawfirm.com
cyoung@saverilawfirm.com
hbenon@saverilawfirm.com
acera@saverilawfirm.com

Matthew Butterick (SBN 250953)
1920 Hillhurst Avenue, #406
Los Angeles, CA 90027
(323) 968-2632
mb@buttericklaw.com


 PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                         CASE NO. 3:23-cv-03417-VC
                                          41
    Case 3:23-cv-03417-VC        Document 554-1   Filed 04/24/25   Page 48 of 48




CAFFERTY CLOBES MERIWETHER &
SPRENGEL LLP
Bryan L. Clobes (pro hac vice)
Alexander J. Sweatman (pro hac vice)
Mohammed A. Rathur (pro hac vice)
135 S. LaSalle Street, Suite 3210
Chicago, IL 60603
(312) 782-4880
bclobes@caffertyclobes.com
asweatman@caffertyclobes.com
mrathur@caffertyclobes.com

DICELLO LEVITT LLP
Amy Keller (pro hac vice)
Nada Djordjevic (pro hac vice)
James Ulwick (pro hac vice)
10 North Dearborn Street, Sixth Floor
Chicago, Illinois 60602
(312) 214-7900
akeller@dicellolevitt.com
ndjordjevic@dicellolevitt.com
julwick@dicellolevitt.com

David Straite (pro hac vice)
485 Lexington Avenue, Suite 1001
New York, New York 10017
(646) 933-1000
dsraite@dicellolevitt.com

COWAN DEBAETS ABRAMS &
SHEPPARD LLP
Scott J. Sholder (pro hac vice)
CeCe M. Cole
60 Broad Street, 30th Floor
New York, NY 10004
(212) 974-7474
ssholder@cdas.com
ccole@cdas.com

Counsel for Individual and Representative
Plaintiffs and the Proposed Class




 PLAINTIFFS’ SUMMARY JUDGMENT REPLY AND OPPOSITION TO META SUMMARY JUDGMENT
                                                         CASE NO. 3:23-cv-03417-VC
                                            42
